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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                         Richmond Division



UNITED STATES OF AMERICA



                                                       Criminal No. 3:19mj    151
CHARELLE SPRIGGINS,

                 Defendant.



                                   CRIMINAL INFORMATION



          THE UNITED STATES ATTORNEY CHARGES THAT:



                                            COUNT ONE
                                       (Citation No. 9091327)

          On or about April 10, 2019, in the Eastern District of Virginia, the defendant,

CHARELLE SPRIGGINS,a United States Postal Service employee, did knowingly and willfully

obstruct or retai'd the passage ofthe mails by opening mail entrusted to her in her capacity as a

mail handler assigned to the Richmond Processing and Distribution plant in Sandston, Virginia

such that the mail was not delivered to its addressed recipients or returned to its identified

sender.


       (In violation of Title 18, United States Code, Section 1701.)



                                                       G.ZACHARY TERWILLIGER
                                                       UNITED STATES ATTORNEY



                                               By:                /Ki (Si.
                                                       Kaitlin G. Cooke
                                                       Assistant United States Attorney
